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                    EXHIBIT F
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                                                 MICHAEL K. JOHNSON│PARTNER



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                                                 St. Paul, MN 55101
                                                 Toll Free: 800-279-6386, ext. 802
                                                 Direct: 612-436-1802
                                                 mjohnson@johnsonbecker.com



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                                      CURRICULUM VITAE

Michael K. Johnson is a founding partner of Johnson//Becker, PLLC. Michael exclusively
handles plaintiffs’ personal injury cases, with an emphasis on national products liability
litigation. He currently represents individuals throughout the country in claims involving
consumer products, medical devices, harmful pharmaceuticals and other dangerous and
defective products. In addition to representing his individual clients, Michael has been
involved in numerous mass tort litigations and has been appointed to Lead Counsel,
Executive Committee and Steering Committee positions in a variety of Multidistrict
litigations and other consolidated proceedings at both the federal and state level. As either
the lead negotiator or as a member of a Settlement Committee, he has participated in the
global resolution of numerous consolidated product liability litigations. Michael has also
served as the Co-Chair of the Products Liability Section of the Minnesota Association of
Justice.

Michael has battled major corporations in the courtroom, appellate courts, and up to the
U.S. Supreme Court. He believes that corporations that choose to put profits before safety
need to be held accountable. As a result of his dedication to his clients and their cases,
Michael was selected as an Attorney of the Year by Minnesota Lawyer in 2009. In
addition, in 2012 Michael was awarded the Stephen J. Sharpe Public Service Award by the
American Association for Justice. The Award is presented annually to an attorney and their
client whose case tells the story of American civil justice and helps educate state and
national policy makers and the public about the importance of consumers’ rights.

As part of his products liability practice, Michael has acquired an extensive working
knowledge of federal preemption. Additionally, Michael has been involved with legislative
lobbying efforts to defeat federal preemption and restore the right to a trial for the injured.
As part of these efforts, Michael has made numerous trips to Washington, D.C. with his
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clients who have been injured by defective medical devices and pharmaceuticals to meet
with both Democratic and Republican leaders of Congress. Michael has also been invited
to contribute his expertise in meetings with both the Food and Drug Administration (FDA)
and the Office of the United States’ Solicitor General to discuss issues involving
pharmaceutical preemption. Michael has also spoke at FDA’s Stakeholder Meeting
“Supplemental Applications Proposing Labeling Changes for Approved Drugs and
Biological Products” in support of FDA’s proposed rule that would make generic
prescription medications safer and would hold generic manufacturer’s accountable for their
failure to warn of dangerous adverse side effects associated with their drugs. Michael has
been quoted in numerous media outlets regarding medical device and pharmaceutical
litigation.

AREAS OF PRACTICE


Exclusively representing Plaintiffs in the following types of cases:


   Products Liability, with an emphasis on Consumer Goods, Pharmaceuticals and Medical
    Devices.
   Mass Tort Litigation
   Catastrophic Personal Injury

NATIONAL LEADERSHIP POSITIONS & CASE RESUME


   Appointed by U.S. District Judge John E. Jones III, Middle District of Pennsylvania, to
    serve on the Plaintiff’s Executive Committee in regards to Sorin Heater Cooler Systems
    Products Liability Litigation (No. II) 18:2816

   Appointed by the Honorable William F. Highberger, Superior Court for the State of
    California, to serve on the Plaintiff’s Steering Committee in Risperdal and Invega
    Product Liability Cases, JCCP No:4775

   Appointed by U.S. District Judge Anthony Battaglia, Southern District of California, to
    serve on the Plaintiffs’ Executive Committee In re: Incretin Mimetics Products Liability
    Litigation 13:2452

   Appointed by U.S. District Judge Cathy Siebel, Southern District of New York, to serve
    on the Plaintiffs’ Steering Committee, and then as Co-Lead Counsel In re: Mirena IUD
    Products Liability Litigation 13:2434
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   Appointed by U.S. District Judge Rodney W. Sippel, Easter District of Missouri, to
    serve on the Plaintiffs’ Steering Committee In re: NuvaRing Products Liability
    Litigation 08:1964

   Appointed by U.S. District Judge Richard H. Kyle, District of Minnesota, to serve on
    the Plaintiffs’ Steering Committee and as a member of the Claim Review In re: Sprint
    Fidelis Litigation 08:1905

   Appointed by U.S. District Judge Donovan W. Frank, District of Minnesota, to serve on
    both the Claims Review Committee and the Common Benefit Attorney Fee and Cost
    Committee In re: Guidant Corp. Implantable Defibrillators Products Liability Litigation
    05:1708

   State Court Co-Trial Counsel and selected to serve as Co-State Court Settlement
    Representative on the Settlement Committee In re: Minnesota State Court Guidant
    Corporation Implantable Defibrillators Products Liability Litigation 06:006672

   Selected to serve on the Law and Briefing Committee In re: Medtronic Implantable
    Cardiac Defibrillators Litigation 05:1726

   Served as a member of Trial Lawyers Care, the largest pro bono legal services program
    in history, providing free representation to more than 1,700 victims’ families who
    sought compensation under the September 11th Victim Compensation Fund.

HONORS AND AWARDS


   Chosen as the recipient of the Steven J. Sharpe Public Service Award by the American
    Association for Justice, 2012

   Chosen by Minnesota Lawyer as Attorney of the Year, 2009

   Chosen by Minnesota Law & Politics, Minneapolis/St. Paul Magazine and Minnesota
    Business Monthly as a “Super Lawyer,” 2003-2005, 2007-2023, a total of 20 years.

   Recognized as a Member of the Multi-Million Dollar Advocates Forum, 2009-2023

   Recognized as a Member of the Million Dollar Advocates Forum, 2007-2023

   Chosen as one of America’s Top 100 High Stakes Litigators 2017-2023

   Chosen by the National Trial Lawyers Association as a Top 100 Trial Lawyers, 2008-
    2023
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   Chosen as a Mass Tort Top 25 Trial Lawyers by the National Trial Lawyers Association
    2016-2023

   Listed in “Who’s Who in Personal Injury” in Minnesota Law & Politics, 2002-2009

   Chosen by Minnesota Law & Politics as a “Rising Star,” 1999-2000, 2002-2003

RECENT PRESENTATIONS AND/OR PUBLICATIONS


Michael has served as an invited Guest Lecturer regarding a range of topics, including
products liability and catastrophic personal injury cases. Most recently, Michael has
participated in the following presentations:

   May 10, 2018; HB Mass Tort Medical School CLE; presented on the science behind the
    Incretin Mimetic class of drugs.
   March 29 2018; American Association for Justice Education’s: Plaintiffs only – Hot
    Topic and Trends in Litigation Seminar; presented on the status of MDL No. 2452: In
    re Incretin Mimetics Products Liability Litigation.
   March 6, 2018; American Association for Justice Webinar; presented on the 9th Court
    of Appeals ruling and the current status of MDL No. 2452: In re Incretin Mimetics
    Products Liability Litigation.
   January 24, 2018; HarrisMartin MDL Conference: Onglyza, Opiod, and Sorin 3T
    Heater-Cooler Litigation; presented on the science behind M. chimaera and how to help
    your clients (and doctors) test for the M. chimaera infection.
   September 24, 2015; Syngenta GMO Corn Litigation CLE; presented on Syngenta
    GMO Corn Litigation, including the importance of a local presence in nationwide
    litigation and ethical considerations in legal marketing.
   May 27, 2015; American Association for Justice Education’s: Plaintiffs only – Hot
    Topics and Trends in Litigation Seminar; presented on Syngenta GMO Corn Litigation,
    including the liability story, the defendants and the status of state court cases and the
    MN consolidation.
   March 27, 2015; FDA Stakeholders’ Meeting: Supplemental Applications Proposing
    Labeling Changes for Approved Drugs and Biological Products; presented in support
    of FDA’s proposed rules that would make generic prescription medications safer and
    would hold generic manufacturers accountable for their failure to warn of dangerous
    adverse side effects associated with their drugs.
   March 25, 2015; American Association for Justice Education’s: Plaintiffs only – Hot
    Topics and Trends in Litigation Seminar; presented on Benicar, including case criteria
    and injuries, the science and the status of the litigation.
   March 25, 2015; Harris Martin’s MDL Conference on Xarelto, Morcellators and
    Emerging Torts; presented on Incretins: Byetta, Januvia and Victoza – Pancreatic and
    Thyroid Cancer Cases.
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   December 3, 2013; Minnesota Mass Torts Conference; presented on building a
    successful mass tort litigation strategy and practice.
   October 11, 2013; Mass Torts Made Perfect; presented on Byetta and Januvia litigation.
   July 24, 2013; HarrisMartin MDL Conference: Incretin Mimetics – Januvia/Byetta;
    presented theories of liability and potential defenses.
   May 29, 2013; American Association for Justice Education’s Pharmaceutical and
    Medical Device Litigation Update Seminar; presented on a four person panel, Januvia
    and Byetta: Defendants, Product Overview, and Overview of Type II Diabetes.
   April 11-12, 2013; Mass Torts Made Perfect: Update on Current Cases: NuvaRing,
    Mirena, Propecia, Fosamax Femur, and NFL Concussion Cases; presented on Mirena
    IUD.
   March 20, 2013; American Association for Justice Education’s Pharmaceuticals and
    Medical Device Litigation Update Seminar; presented on a four person panel, Mirena
    IUD Analysis: Overview and History of Intrauterine Devices (IUDs).
   February 12, 2013; American Association for Justice Winter Convention: Litigation at
    Sunrise, presented Mirena IUD cases.
   February 5, 2013; American Association for Justice Education Teleseminar: Handling
    Mirena IUD Litigaiton, presented product and manufacturing information.
   November 30, 2012; Louisiana State Bar Association’s 12th Annual Class Action/Mass
    Tort Symposium: presented Aggregate Settlements (Connecting the Ethical Dots).
   February 13, 2012; American Association for Justice Winter Convention: Fighting for
    Justice in the Courts and Courtroom, presented on a three person panel regarding the
    impact of recent Supreme Court decisions, opportunities, and setbacks.
   January 25, 2012; HarrisMartin MDL Conference: Transvaginal Mesh and Actos
    Litigation; presented on Propeicia, Actos, and general preemption issues.
   January 23, 2012; Minnesota State Bar Association, Food, Drug, and Device Law
    Section: Presentation: Successful Strategies to Win or to Protect the Challenge,
    presented on pharmaceutical and medical device preemption.
   December 9, 2011; Louisiana State Bar Association’s 11th Annual Class Action/Mass
    Tort Symposium: presented Navigating Preemption after Mensing.
   November 30, 2011; HarrisMartin MDL Conference: Transvaginal Mesh and Actos
    Litigation; Actos Faculty Co-Chair and presented Propecia Update.
   September 20, 2011; American Association for Justice Education Teleseminar:
    Propecia, acted as the Faculty Moderator and presented Status of the Litigation.
   September 8, 2011; American Association for Justice Education Teleseminar: Actos,
    co-authored presentation paper Actos – Current Status of the Litigation.
   July 27, 2011; HarrisMartin MDL Conference: Zimmer NexGen Knee and DePuy Hip
    Implant Litigation, presented Generic Preemption Post Mensing.
   January 27, 2011; American Association for Justice Education Teleseminar: Generic
    Preemption, presented Underlying Facts of Pliva v. Mensing.
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PROFESSIONAL MEMBERSHIPS

   Federal Bar Association

   Minnesota Association for Justice,
    Member, 1995-Present
    Past Co-Chair of Products Liability Section
    Board of Governors, 2007-2017

   American Association for Justice
    Member, 1995-Present
    Co-Chair of the Mirena Litigation Group, 2012-2019

   The National Trial Lawyers

   Mass Tort Trial Lawyers Association

   Academy of Truck Accident Attorneys

   Public Justice Foundation

BAR ADMISSIONS


   Minnesota, 1995

   U.S. District Court of Minnesota, 1996

   U.S. District Court, Eastern District of Wisconsin, 2010

   U.S. District Court, Western District of Wisconsin, 2013

   U.S. District Court, District of Colorado, 2018

   U.S. Court of Appeals 8th Circuit, 2009

   U.S. Court of Appeals 9th Circuit, 2017

   U.S. Court of Appeals 10th Circuit, 2019

   Supreme Court of the United States of America, 2011
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EDUCATION


   William Mitchell College of Law, St. Paul, Minnesota 1995
    J.D.
    Honors: Cum Laude

   St. Mary’s University, Winona, Minnesota, 1992
    B.A.
    Major: Business Administration
